                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                         No. 5:07-CV-174-H

LILIANA MARTINEZ-HERNANDEZ and                          )
ULDA APONTE, both individually and on                   )
behalf of all other similarly situated persons,         )
                                                        )
        Plaintiffs,                                     )
                                                        )
        v.                                              )               ORDER
                                                        )
BUTTERBALL, L.L.C.,                                     )
                                                        )
        Defendant.                                      )

        This matter is before the Court on Defendant's Motion to Seal Exhibit. [DE-342.]

Defendant's motion fails to fully comply with the Court's procedure for filing motions to seal

documents. Defendant cited no authority requiring the document be sealed and, consequently, must

file a memorandum in support of its motion that specifies (i) the exact document or item, or portions

thereof, for which filing under seal is requested; (ii) how such request to seal overcomes the common

law or the First Amendment presumption to access; (iii) the specific qualities ofthe material at issue

which justify sealing such material, taking into account the balance of competing interest in access;

(iv) the reasons why alternatives to sealing are inadequate; and (v) whether there is consent to the

motion. See Electronic Case Filing Administrative Policies and Procedures Manual § T( 1)(a) 1. (Rev.

Jan. 25, 20 10). Defendant's proposed order must set forth such findings. See id.

        Accordingly, Defendant's motion is DENIED with leave to refile within fourteen (14) days

of entry of this order. The proposed sealed document shall remain SEALED to allow Defendant

time to refile its request. In the event Defendant fails to refile its request within fourteen (14) days




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of entry of this order, the Clerk is DIRECTED to unseal the document.



       This fJnday of July, 2010.




                                                   United States Magistrate Judge




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